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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SANJAY SOOKUL, on behalf of himself and
 all others similarly situated,
                                  Plaintiff,
                                                              24-CV-3314 (JGLC)
                      -against-
                                                              ORDER
 SWORLD, INC.,
                                  Defendant.



JESSICA G. L. CLARKE, United States District Judge:

        On May 2, 2024, the Court ordered that, within 45 days of service of the summons and

complaint, “the parties must submit a joint letter informing the Court whether the parties have

settled. If the parties do not reach a settlement, the parties shall in the joint letter request that the

Court (1) refer the case to mediation or a magistrate judge for a settlement conference (and indicate

a preference between the two options), or (2) proceed with an initial pretrial conference.” ECF No.

5. The docket reflects that Defendants were served on May 15, 2024. See ECF No. 7. Thus, the

deadline for the parties to file the joint letter elapsed on July 1, 2024. The parties did not file

anything by that date.

        IT IS HEREBY ORDERED that the parties comply with the Court’s May 2 Order no later

than July 11, 2024. If the parties do not file anything by that deadline, the Court will dismiss the

case.



Dated: July 8, 2024                                      SO ORDERED.
       New York, New York

                                                         JESSICA G. L. CLARKE
                                                         United States District Judge
